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            EXHIBIT L
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From:                              Krabill, Laura E. (Phila)
Sent:                              Tuesday, December 13, 2022 5:05 PM
To:                                Charlson, Michael; George M. Vinci Jr.; Jennifer L. Gordon
Cc:                                Goldberger, M. Norman (Phila); Summers, Shawn (Phila); Antonelli, Marisa; Neal R.
                                   Troum; Alan Epstein; King, Jr., Adrian R. (Phila)
Subject:                           RE: Norcross, et al. v. Republic First Bancorp., et al.


Michael:

I just want to point out again that the Court’s order requires all parties and counsel to attend the hearing on Friday, so
we cannot agree among ourselves to obviate that order. As I wrote before, all three of our clients are planning to attend
the hearing. Two of them are traveling from Florida to do so. We do plan to call Mr. Duster (and Mr. Madonna) as
witnesses on Friday. Please advise if you intend to call any of our clients as witnesses. We also intend to use the
exhibits attached to the Complaint at the hearing and will have sufficient copies of those for the court and witnesses, so
no need for you to make extra copies of those. We will likely have several other exhibits but have not settled on a full
list of others yet -- the preliminary proxy the Company filed last Thursday and potentially others.

On the Complaint service issue, we agree that the response to the Complaint can be deferred. We can discuss the
specifics of any response date after the hearing but think the proposal of at least 28 days out unless the Court orders
otherwise is likely fine. Please let us know if there are other logistics you’d like to discuss.

Kind regards,

Laura

From: Charlson, Michael <mcharlson@velaw.com>
Sent: Monday, December 12, 2022 5:57 PM
To: Krabill, Laura E. (Phila) <KrabillL@ballardspahr.com>; George M. Vinci Jr. <gvinci@sgrvlaw.com>; Jennifer L. Gordon
<jgordon@sgrvlaw.com>
Cc: Goldberger, M. Norman (Phila) <GoldbergerM@ballardspahr.com>; Summers, Shawn (Phila)
<SummersS@ballardspahr.com>; Antonelli, Marisa <mantonelli@velaw.com>; Neal R. Troum <ntroum@sgrvlaw.com>;
Alan Epstein <aepstein@sgrvlaw.com>; King, Jr., Adrian R. (Phila) <KingA@ballardspahr.com>
Subject: RE: Norcross, et al. v. Republic First Bancorp., et al.

⚠ EXTERNAL
Laura –

I am still trying to figure out which of our directors will have difficulty getting to Philadelphia on Friday, and comparing
that with who your client actually intends to examine. Thus far, both of the new directors, Ben Duster and Peter
Bartholow, are from well out of town. So I know they are on the list of people who, if you are planning to call them, we
would want to arrange for appearance by Zoom. We are awaiting word on several others.

It seems we ought to talk about what documents we intend to use at the hearing. I don’t actually know about all of
them on our side yet, but that should be coming together, obviously, in the next day or so.

I guess I should confirm issues with service because I don’t know that we actually reached closure on the topic. When
we spoke last week, we said we would formally accept service, subject to agreement that defendants need not answer
or otherwise respond to the Complaint (as opposed to the PI motion). But we did not agree upon a date of service and I
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presume that at some point either Plaintiffs are, or the Court is, going to want a response to the Complaint (unless the PI
motion moots everything). So I was thinking maybe we agree that service was effective as of Friday, no response
currently due subject to the parties later agreeing on a response date not less than 28 days out (unless of course the
Court orders otherwise). What do you think?

These were the primary topics on my agenda, though I am no doubt forgetting something.

Michael




From: Krabill, Laura E. <KrabillL@ballardspahr.com>
Sent: Monday, December 12, 2022 10:07 AM
To: Charlson, Michael <mcharlson@velaw.com>; George M. Vinci Jr. <gvinci@sgrvlaw.com>; Jennifer L. Gordon
<jgordon@sgrvlaw.com>
Cc: Goldberger, M. Norman <GoldbergerM@ballardspahr.com>; Summers, Shawn <SummersS@ballardspahr.com>;
Antonelli, Marisa <mantonelli@velaw.com>; Neal R. Troum <ntroum@sgrvlaw.com>; Alan Epstein
<aepstein@sgrvlaw.com>; King, Jr., Adrian R. <KingA@ballardspahr.com>
Subject: RE: Norcross, et al. v. Republic First Bancorp., et al.

    [EXTERNAL]

Hi, Michael. Thanks for the email. We’re happy to discuss logistics when convenient. Please let us know. Laura

From: Charlson, Michael <mcharlson@velaw.com>
Sent: Sunday, December 11, 2022 7:18 PM
To: Krabill, Laura E. (Phila) <KrabillL@ballardspahr.com>; George M. Vinci Jr. <gvinci@sgrvlaw.com>; Jennifer L. Gordon
<jgordon@sgrvlaw.com>
Cc: Goldberger, M. Norman (Phila) <GoldbergerM@ballardspahr.com>; Summers, Shawn (Phila)
<SummersS@ballardspahr.com>; Antonelli, Marisa <mantonelli@velaw.com>; Neal R. Troum <ntroum@sgrvlaw.com>;
Alan Epstein <aepstein@sgrvlaw.com>; King, Jr., Adrian R. (Phila) <KingA@ballardspahr.com>
Subject: RE: Norcross, et al. v. Republic First Bancorp., et al.

⚠ EXTERNAL
Laura –

Notices won’t be necessary. We have several directors who are not in Philadelphia. We anticipate requesting that those
individuals, to the extent you actually want to question them at the hearing, appear by Zoom. We likely should chat
about things – documents, who is really going to be called, etc. – but right now, we are rather busy, as I am sure you are
pleased to hear. That is especially true with George and Neal on trial in Delaware. But we will find a time to talk.

Michael



Michael L. Charlson
Partner



E   mcharlson@velaw.com
W +1.415.979.6910

555 Mission Street

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Suite 2000
San Francisco, CA 94105
Vcard   |    Bio   |   velaw.com




From: Krabill, Laura E. <KrabillL@ballardspahr.com>
Sent: Friday, December 9, 2022 1:37 PM
To: George M. Vinci Jr. <gvinci@sgrvlaw.com>; Jennifer L. Gordon <jgordon@sgrvlaw.com>
Cc: Goldberger, M. Norman <GoldbergerM@ballardspahr.com>; Summers, Shawn <SummersS@ballardspahr.com>;
Charlson, Michael <mcharlson@velaw.com>; Antonelli, Marisa <mantonelli@velaw.com>; Neal R. Troum
<ntroum@sgrvlaw.com>; Alan Epstein <aepstein@sgrvlaw.com>; King, Jr., Adrian R. <KingA@ballardspahr.com>
Subject: RE: Norcross, et al. v. Republic First Bancorp., et al.

 [EXTERNAL]

Hi, all. I’ve taken Ms. Packer off the email but am using it to reply with the hopes that I don’t miss anyone from your
side. At this point based on the Court’s order, we are planning to bring all of the plaintiffs to Court next Friday as
directed, so they will be available to testify if you intend to call any of them as witnesses. Can you confirm that the
directors will also all be attending as directed by the Court and available in case we decide to call one or more of them as
witnesses? Otherwise, we’ll plan to send notices to attend by Monday.

Thanks for your attention to this.

Kind regard,
Laura

From: George M. Vinci Jr. <gvinci@sgrvlaw.com>
Sent: Friday, December 9, 2022 3:15 PM
To: Krabill, Laura E. (Phila) <KrabillL@ballardspahr.com>; Jennifer L. Gordon <jgordon@sgrvlaw.com>;
susan.packer@courts.phila.gov
Cc: Goldberger, M. Norman (Phila) <GoldbergerM@ballardspahr.com>; Summers, Shawn (Phila)
<SummersS@ballardspahr.com>; Charlson, Michael <mcharlson@velaw.com>; Antonelli, Marisa
<mantonelli@velaw.com>; Neal R. Troum <ntroum@sgrvlaw.com>; Alan Epstein <aepstein@sgrvlaw.com>
Subject: RE: Norcross, et al. v. Republic First Bancorp., et al.

⚠ EXTERNAL
Good Afternoon Ms. Packer,

Is there anything else the Judge needs from the parties at this time?


                                   George M. Vinci Jr., Shareholder & Director
                                   Spector Gadon Rosen Vinci P.C.
                                   T +1 215-241-8840
                                   F +1 215-531-9128
                                   E gvinci@sgrvlaw.com




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addressed herein.


From: Krabill, Laura E. <KrabillL@ballardspahr.com>
Sent: Friday, December 9, 2022 10:11 AM
To: Jennifer L. Gordon <jgordon@sgrvlaw.com>; susan.packer@courts.phila.gov
Cc: Goldberger, M. Norman <GoldbergerM@ballardspahr.com>; Summers, Shawn <SummersS@ballardspahr.com>;
Charlson, Michael <mcharlson@velaw.com>; Antonelli, Marisa <mantonelli@velaw.com>; George M. Vinci Jr.
<gvinci@sgrvlaw.com>; Neal R. Troum <ntroum@sgrvlaw.com>; Alan Epstein <aepstein@sgrvlaw.com>
Subject: RE: Norcross, et al. v. Republic First Bancorp., et al.

{EXTERNAL EMAIL} This message originated outside of your organization.
Dear Ms. Packer,

Attached is the letter that Plaintiffs delivered to Judge Djerassi as well. We appreciate your assistance as always. Thank
you.

Laura

From: Jennifer L. Gordon <jgordon@sgrvlaw.com>
Sent: Friday, December 9, 2022 10:08 AM
To: susan.packer@courts.phila.gov
Cc: Krabill, Laura E. (Phila) <KrabillL@ballardspahr.com>; Goldberger, M. Norman (Phila)
<GoldbergerM@ballardspahr.com>; Summers, Shawn (Phila) <SummersS@ballardspahr.com>; Charlson, Michael
<mcharlson@velaw.com>; Antonelli, Marisa <mantonelli@velaw.com>; George M. Vinci Jr. <gvinci@sgrvlaw.com>; Neal
R. Troum <ntroum@sgrvlaw.com>; Alan Epstein <aepstein@sgrvlaw.com>
Subject: Norcross, et al. v. Republic First Bancorp., et al.

⚠ EXTERNAL
Dear Susan,

Per your instructions I am emailing you a copy of our letter to Judge Djerassi. Would you kindly make sure he receives
it. Thank you.

                                   Jennifer L. Gordon
                                   Legal Assistant
                                   Spector Gadon Rosen Vinci P.C.
                                   T +1 215-241-8937
                                   F +1 215-531-9111
                                   E jgordon@sgrvlaw.com



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                                   Assistant to -
                                   George Vinci
                                   Jonathan Greystone
                                   Kermit Rader
                                   Randi Wolf

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Thank You.




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